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jeong@jeonglikens.com
JEONG & LIKENS, L.C.

222 South Oxford Avenue

Los Angeles, California 90004
Tel. 213-688-2001

Fax, 213-315-5035

Attorneys for Plaintiff

NEMAN BROTHERS & ASSOC.,
INC., a California Corporation:

Plaintiff,

INTERFOCUS, INC. d.b.a.
www.patpat.com, a Delaware
Corporation; CAN WANG; an

individual; and DOES 1-16, inclusive,

Defendants,

ase 2:20-cv-11181-CAS-JPR Document 15

CHAN YONG JEONG, ESQ. (SBN 255244)

NEWMAN BROTHERS & ASSOC., INC.

Filed 01/21/21 Pagelof3 Page ID#:15

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

 

 

Case No, 2020cv11187CASJPR

PROOF OF SERVICE

 

 
Case 2:20-cv-11181-CAS-JPR Document 15 Filed 01/21/21 Page 2of3 Page ID #:160

AQ t40( Rev. 6/12) Summons ine Civil Action (Page 2)
Civil Action No. 2200v 1181 CASJPR Case Name: Neman Brothers & Assoc, Inc. vs Interfocus, Ine, d.b.a. www. patpateom

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 43,)

This summons for: Interfoeus, Ine. d.b.a, www.putpadeom, a Delaware Corporation
wis received by me on January 07, 2021

{J [ personally served the Summons on First Amended Complaint and First Amended Complaint; Civil Cover
Sheet; Certification and Notice of Interested Parties; Report on the Filing or Determination on an Action or
Appeal Regarding a Copyright on the individual at ,, on 1:51 AM

CJ 1 left the above listed documents at the individual's residence or usual place of abode with a person of suitable
age and discretion who resides there, on (dai) , and mailed a copy to the individual's last known address; or

m1 served the above listed documents to Jame Park , Manager Person Apparently in Charge who is designated by faw to accept
service of process on behalfof Interfecus, Inc. dt.a. wrw.patpatcom, a Delaware Corporation on January £4, 2021 [51 AM
at 650 Castro St Ste 120-458 Mountnin View, Cn 94041-2055

C1 Ereturned the above Jisted documents unexeouted because;

(CO other pspeciiy:
My fees are $00 for travel and $ 703,90 for servieas, for a total af 8 103.90

i dectare under penalty of perjury that ihis information ts trie.

Date: Jannary fd, 20g

 

Server's slanatire

Printed name aid title

Contracted by DDS Legat Support
2900 Bristol Street
Coatn Mega, CA 92626

(734) 663-5585.
Server's Address

AMADA 205A
Case 2:20-cv-11181-CAS-JPR Document 15 Filed 01/21/21

Page 30f3 Page ID #:161

 

 

 

 

 

 

 

 

 

 

Attomey or Party withoul Allorney: FOR COURT USE ONLY

Chan Yong Jeong, Esq., SBN: 255244

Jeong & Likens, LC

222 S Oxford Ave

Los Angeles, CA 900045105 E-MAIL ADDRESS (Optional): iInfo@jeonglikens.com:jeong@

jeonglikens.com
TELEPHONE No.: (243} 688-2004 FAX No. (Optional): (213) 688-2002
Attomey for: Plaintiff Neman Brothers & Assoc., Inc. Ref No. or File No.;
Neman Brothers v Interfocus

Inserf name of Caurl, and Judicial District and Branch Court:

UNITED STATES DISTRICT COURT - FOR THE CENTRAL DISTRICT OF CALIFORNIA

Plain: Nerman Brothers & Assoc., Inc.
Befendant: Interfocus, Inc. d.b.a. waww.patpaf.com

HEARING DATE: TIME: QEPT.: CASE NUMBER:
PROOF OF PERVICE 220cv11181CASJPR

 

 

 

1, | am over the age of 18 and not a party to this action. | am employed in the county where the mailing occured.

2. | served copies of the Summons on First Amended Complaint and First Amended Complaint: Civil Cover Sheet;
Certification and Notice of Interested Parties; Report on the Filing or Determination on an Action or Appeal Regarding a

Copyright;

3. By placing a true copy thereof enclosed in a sealed envelope, with First Class postage thereon fully prepaid, in the United

States Mail at Costa Mesa, California, addressed as follows:

a. Date of Mailing: January 15, 2021
b, Place of Mailing: Costa Mesa, CA
c. Addressed as follows: Interfocus, Inc. d.b.a. www.patpat.com, a Delaware Corporation

ATTENTION: Can Gao - Agent for Service
650 Castro St Ste 120-458
Mountain View, CA 94041-2055

fam readily familiar with the firm's practice for collection and processing of documents for mailing. Under that practice, it
would be deposited within the United States Postal Service, on that same day, with postage thereon fully prepaid at Costa

Mesa, California in the ordinary course of business.

Fee for Service: $ 103.90

DDS Lega! Support 1 declare under penalty of perjury under the jaws of the
pps: 2900 Bristol Street The State of California that the foregoing information

<PDS" Costa Mesa, CA 92626 . contained in the return of service and statement of

(714) 662-5555
Ref: Neman Brothers v Interfocus

tH, Signature:

[=] service fees is true and correct and that this declaration
was executed on January 19, 2021.

AF

 

 

Monica Figueroa

 

PROOF OF SERVICE BY MAIL

Order: 104206A/mailproof
